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                                                          LaurelM .Isicoff
                                                          ChiefUnited States BankruptcyJudge


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                              FOR TH E SO U TH ERN DISTRICT O F FLOR ID A
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          E):                                                 C A SE NO .: 18-16699-1-511
    SANA BIINV ESTM EN TS, L.L.C .,                           C HA PTER 7
                D ebtor.


                       ORDER GRANTING TRUSTEE'S M OTION TO APPROVE
                           STIPULATION TO CO M PROM ISE CONTROVERSY
                THIS M ATTER,came before the Cotll-ton M arch 9, 2020 at 10:30 A.
                                                                                M .(thekQ
                                                                                        H earing''j
    to consider the Chapter 7 Trustee's M otion to A pprove Stiptllation to C oluprcnuise Controve
                                                                                                                               rsy
    (D.E.#2592(the--lvotiolt''j.1 TheM otionhasbeen served on allinterested pat-tiesandcreditol's,
   purstlantto the FederalRules ofBankalptcy Procedtlre and the LocalRules ofthisCotlrt. The

    Coul'
        t,having review ed the file, the M otion and record herein, having considered the Argulnentof

   the Chapter 7 Trtlstee and noting thatthe Debtor-s principalM r.
                                                                           Saady Nailn BijaniFuenluayor


   iAl1capitalized tennsnototherw isedefined inthisOrdershallhavethelneaningsascribed tothem inthe M otion
                                                                                                          .
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     w as present at the Hearing,good cause having been shown, and being otherw ise duly advised in

     the prem ises,does hereby

            O R DERED A N D A DJUD G ED that:

                    The M otion is GR ANTED and the Settlementis APPROVED on tlze tenns and

     conditions setfol4h in the M otion and the Stipulation to Colnpromise Controversy attached as

     Exhibit%tl''to theklotion (thewGsti
                                       pulation''orQ%
                                                    settlelnent%bt.




                    Bijaniu'illpay the Tnlstee a totalsul'
                                                         n of $70,000.00 to be paid in 25 eqtlal
    monthly paymentsofS2.S00.00 to be made on the l5thday ofeach 1-
                                                                  n011th stal-ting on Febrtlary

     I5.2020 and ending on February l5, 2022.As an incentive for early payn-lellt if the Trtlstee

    receives a total of 555,000.00 by February 15- 2021 then 555,000.00 will be the settlem ellt

    al-
      notlnt.

                   The paym ents w illbe by cashier's check or lnoney orders m ade payable to the

    order of Robert A .A llgtleira, Trtlstee and lnaiIed to the Trtlstee's off-
                                                                              ice at: l6 SW l A srentle,
    Nlianli,FL 33130 Each cashier's check or l'
                        .                     noney order shotlld clearly state the nalue of the

    Debtorand the case nuluber.

                   A1lnotices giy'en ptlrsuantto theSettleluentshallbeserved on thepartiesvia U .S.

    M ailasfollow s'
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                   T(
                    .? the Trustee: RobertA . A ngueira,Trustee,c/o Y anay G alban- Esqx, 16 SSV lSt
                   A venue,M iam i,Florida 33l30   .




                   To Saady Nailn BiianiFuenmavor: Saady Naim BijaniFuenmayor 1l255 N '
                                                                                      W   -
                   77 Terrace.M iam i,FL 33l78.

           The pal-ties agree and acknowledge that notice               effective      served       the

    aforem entioned addresses via U .S.Mail,Firstclass. If Bi
                                                            jani's address changes,it is 14is
    obligation to notify the Trustee in writing and also f-ile a N otice of Change of A ddress w ith the

    U .S.Banknlptcy Courtforthe Sotlthern DistrictofFlorida.
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       5. Furthernlore,Bijani,hisparents(ThaisC.Fuenlnayorand Saady A.Bi
                                                                       janilshisbrother
    (Nailn T.Bijanil,and his sister Susana Bijanihave exectlte stantlstilland tolling agreenpent
    agreeing to extend thedeadlinepursuantto llU.S.C.j546(a)to filecertaincausesofaction to
    recoverand avoid thetransfersdescribed aboveunderChapter5 oftheUnited StatesBankruptcy

    Codeand/orapplicable statelaw (including Fla.Stat.jj726.l05s726.l06 and/or607.06401)to
    M arch 15,2022 (then%Terlltlnatiolt.
                                       Df'
                                         l/t?'').

           lfM r.Bijanifailsto til-
                                  nely make any ofthe paymentsdescribed in paragraph 2,then
    afterten (10)dayswrittellnotice n'
                                     lailed oremailed to Bijani.heu-ould beindefatllttlnderthe
    ten-
       ns of the Settlelment. Upon D efatllt,the Trtlstee has the follovving rel-
                                                                                nedies, in addition to

    any fttl-therrem edics provided by the B ankruptcy Code:

                   Upon Defatllt-tl4e Trustee u'otlld be entitled to:(i) file a M otion and reqtlesta
                   hearing seeking the entry ofa FinalJudgnnentagainstM r. Bi janiin theal-noulltof
                   $l00,000.00,pltls attorney's fees,costs.and interest vvhich shallaccrue at 5t% ,  '


                  and (ii) the Trtlstee shall be entitled to do this by M otion and without the
                  necessity of (i
                                'ling an A dversary Proceeding. Tl4e parties agree and stiptllate that
                  any such FillalJtldgluentin the alnotlatof$100,000.00,ifone w ere to be entered
                  after notice and hearing, w otlld be a non-dischargeable debt under 1l U .S.C .
                   j523.
                  Additionally,in theeventthatBijanidefatlltstlnderthetenusofthe Stipulation,
                  the Trtlstee vvould also be entitled to colnl-
                                                               nence litigation against Bijanihis
                  parents(ThaisC.Fuenluayorand Saady A.Bijani).brother(NainlT.Bijani)and
                  sister(SusanaBijani)concenzingany transfersl' nadebytheDebtorto thelu Nvithin
                  4 yearspriorto the Petition D ate.to the extentstlch clail-ns exist.

                  ln addition, upon D efatllt the Tl-ustee shall be entitled to interest, vvhich shall
                  accrtle at50/arate,aswellasattorneys'tkesand costs.
           The Settlel
                     u ent resolves al1 isstles between the Tnlstee, Bi
                                                                      jani.his parents (Thais
    Fuenmayorand Saady A.Bijani),hisbrothertNaim T.Bijani)and sister(Susana Bijani)for
    alleged preferentialor fraudulenttransfers and is a gtobalsettlelnentof alll
                                                                               'natters between the

    parties.

       8. The settlement proceeds of $70,000.00,or $55,000.00, to potential catlses of action
Case 1:17-cv-20608-JJO
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                                                           20 Page   4 Of4 Page 6 of 13



    againstMr.Bi
               janiandM r.Bijani'sfamilylueluberstoavoidfraudulenttransfers.
           TheCourtretainsjurisdictiontoenforcetheterlnsoftheSettlement.


    Sttbm itted by

    ROBERT A .A N GU EIRA .P.A .
    l6 S.W .1StAvenue
    M iam i,FL 33l30
    Tel.305-263-3328
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      -nail.yanaytttrghankruptcy.colu
    Copies fulm ished to:
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            Jalban,Esq.
Case 1:17-cv-20608-JJO Document 198 Entered on FLSD Docket 06/03/2020 Page 7 of 13
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                                      UNITED STATESDISTRICT COURT

                                      SOUTHERN DISTRICT OF FLORIDA

    CASENO.:17-20608-ClV-JAL

    ARW IN NICOLASZAPATA CARRERO

    andaIIotherssimilarlysituated under29U.S.C.216(b),Plainti
                                                            ffs,


     SANABIINVESTMENTSLLCd/b/aOSCAR'SMOVING & STORAGE
    and SANDY BIJANI,I Defendants,



              --      jani's Required Response to orderRenuirina Response to plaintiff'sM otion to Lift
      Defendantsaadv Bi   -                                                                      -


                                                  Syav



    COMESNOW defendantSaadyBijaniinfilingtherequiredresponsetotheOrderon Plaintiff'sMotionto
    LiftStay (DE192OrderDE190Motion)


    Defendanthasbeen unable to w ork in partsince the conversi
                                                             on oftheSanabilnvestment LLC being

    converted to a receivership and subsequently to Chapter7 undertrustee RobertAguiera,see case

    Southern DistrictofFlorida US Bankruptcy courtcase 18-16699-1
                                                                -M 1,Said Receivership com menced

    underanorder(DE161of7/3/19)andsaidConversioncommenced (DE1787/17/19)


     Notwithstandingthischainofevents,Debtor,Bijanistarted anexhaustivesearchforfulltime
    em ploym entultimately securing m inim alparttim e workto supporthism inorchild,his parentsand

    fam ily memberwho also Iosttheiremploym entasa resultofthe receivership.



     Debtoralso worked withTrustee Anguieraon an exhaustive globalsettlementofaIIclaim sand accounts

     againstSanabiand him selfasits president,said settlem entw asarrived at in early 2020 andwasfiled in
Case 1:17-cv-20608-JJO Document 198 Entered on FLSD Docket 06/03/2020 Page 8 of 13

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    thecase under(062592/14/20)andtheOrderapprovfngsamewasuploaded(DE2653/13/20)


    suffice ftto saythatinstantly during and afterthe settlem entwasnegotiated and effectuated forall

    creditorsand claim sthe Covid 19 Pandem icfinancially destroyed any remote possibility orpotentiality

    to engage and secure competentLegalCounselto representthe debtorin any case and asa resultofthe

    GlobalShutdown ,aIIpotentialem ploymentsourcesdried up leaving the Defendantbereftofany way

    to supporthimselforfamilv.



    No Stim uliisavailable to the defendantorhisform ercorporationfrom the CARES ACT and the

    defendanthasbeen distracted withthe mere requirem entto feed histoddlerson.



    Accordingly,the DefendantbelievesthattheCom posite GlobalSettlementarrived atand filed in the

    Chapter7case precluded any independentaction againstitsform erPresident,the Defendantin this

    C3Se.




    Asthe Trustee exhaustivelyexam ined a1lbooksand recordsofthe Defendant'sform erCompany,there

    wasno evidencethatthe Plaintiffworked directlyforthe Defendant asan individualand in factthe

    exam ination proved he wasan em ployee oftheform ercompany .



    Plaintiffhasnotperfectedservice on theDefendanthaving served Defendantatan addressotherthan

    hiSestablished Iong term residence and asa resultDefendantasksthe DefaultJudgm entto be setaside

    infavorofenforcementofthe GlobalSettlem entw hich asa resultofthe liquidation ofthe Defendant's

    form ercom pany providessom e reliefpro rata in the liquidation efforts.
Case 1:17-cv-20608-JJO Document 198 Entered on FLSD Docket 06/03/2020 Page 9 of 13

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                                                                             *A,b
    Defendanthereby com pliesw iththe CourtsRequirementforResponse in theabove statement.

    Defendantisready,w illing and able to participate in any discussionswhich m ay effectuate provisionsof

    the settlementto thisPlaintiff




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                          Cc: MichaelFrank mfrank@bkclawmiami.com,meyerrobertc@ cs.com


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                             RobertA.Angueira,P.A.

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                    BestRegards,
                    Saady N.Bijani
                    305.304.8164




                        A O n Feb 10,2020,at10:14 AM ,RobertAngueira
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                        As yourunderstanding as you drafted this
                      document,Are you releasing my Brother(Naim T.
                      Bijani),my parents (Thais C.Fuenmayorand
                      Saady Bijani)m y sister(Susana T.Bijani)and any
                      relative orfam ily m em bers IF Ipay this entire
                      am ountof$70.000 perthere terms ofthe
                      agreem ent? OrAre you Ieaving this open atthe
                      end to go afterthem even ifIpay the com plete
                      am ount?

                      Iunderstand you are notreleasing anyone untilIpay
                      in fullon the term s agreed !

                       Please Reply




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                       representing Arwin Nicolv zapata in the W v e-
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                       Please Reply
                       Iwantto m ake this decision and sign today butI
                       needed fullclarification ofwhatyou mean in what
                       you wrote!Thanks,




                       REGARDS,

                       Saady Bi jani
                       sabijani@ gmail.com
                       (305)304-8164
                                                                    s/,J/f4 6.'
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                                                                              à Sq
  Case 1:17-cv-20608-JJO Document 198 Entered on FLSD Docket 06/03/2020 Page 13 of 13



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                            this e-m ailfrom your com puter.

                             From :Yanay G alban
                             Sent:Thursday,February 6,2020 3:56
                             PM
                             To:MichaelFrank
                             <mfrank@ bkclawm iam i.com>
                             Cc:RobertAngueira
                             <robert@ rabankrup-toy.com>'
                                                        ,Saady
                             Bijani<sabi
                                       jani@ gmail.com>
                             Subject:SanabiInvestments,LLC Case
                             No.18-16699-LM 1

                             C onfidentialSettlem ent
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       %     N               M r.Frank,
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                                         J.r inform ed us thathis
tG g<o6 ------W              client w illagree to a settlem ent for
                             $7 , 00.00 payable at$2,800.00
                             a m onth for 25 m onths.Please 1et
                             us know whetherM r.Bijaniagrees
                             to those term s.Enclosed is the
                             stipu lation thatw e have drafted.
                             Pursu ant to the stipulation w e w ill
                             need tolling agreem ents to be
                             signed by Mr.Bijani,hisparents,
                             his brother Naim mad his sister
                             Susana.W e w illneed copies of
                             their ID s in order to m ake sure to
                             have their accurate contact
                             inform ation in order to prepare
                             the tolling agreem ents.

                             Regards,

                             Yanay G alban,Esq.

                             Robert A.Angueira,P.A .
                             16 SW 1stAve.
                             M iam i,FL 33130
                             Tel.(305)263-3328
                             DirectLine.(786)843-3560
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